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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No.: CV 21-02957-FWS (MARx)                                          Date: June 1, 2022
   Title: M.A.R. et al v. City of Los Angeles et al

   Present: HONORABLE FRED W. SLAUGHTER, UNITED STATES DISTRICT JUDGE

           Melissa H. Kunig                                              N/A
            Deputy Clerk                                             Court Reporter

     Attorneys Present for Plaintiff:                         Attorneys Present for Defendant:

              Not Present                                             Not Present

   PROCEEDINGS:           SCHEDULING ORDER

           The court, having reviewed the pleadings, docket, and the parties’ submissions pursuant
   to Federal Rule of Civil Procedure 26(f), considers this case ready to commence trial
   proceedings. Notwithstanding the court’s Order on Pretrial and Trial Procedures (Civil Cases)
   filed concurrently herewith, the court sets the following schedule:

    Check one: [ x ] Jury Trial or [ ] Bench Trial                                     10/24/2023
    Tuesday at 8:30 a.m.
    Trial Length                                                                         5-7 days
    Final Pretrial Conference & Hearing on Motions in Limine                           10/12/2023
    [Thursday at 8:30 a.m., at least 12 days before trial]
    Last Date to Hear Motion to Amend Pleadings /Add Parties [Thursday]                  9/8/2022
    Non-Expert Discovery Cut-Off                                                        6/15/2023
    (no later than deadline for filing dispositive motions)
    Expert Disclosure (Initial)                                                         6/22/2023
    Expert Disclosure (Rebuttal)                                                         7/6/2023
    Expert Discovery Cut-Off                                                            7/20/2023
    Last Date to Hear Motions [Thursday]                                                7/20/2023
     • Motion for Summary Judgment due at least 6 weeks before hearing

     • All other motions due at least 4 weeks before hearing

     • Opposition due 2 weeks after Motion is filed

     • Reply due 1 week after Opposition is filed

    Deadline to Complete Settlement Conference [L.R. 16-15]                              8/3/2023
      Select one:
         [ ] 1. Magistrate Judge (with Court approval)
         [ ] 2. Court’s Mediation Panel
          [x] 3. Private Mediation

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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

   Case No.: CV 21-02957-FWS (MARx)                                          Date: June 1, 2022
   Title: M.A.R. et al v. City of Los Angeles et al
    Trial Filings (first round)                                                        9/21/2023
     • Motions in Limine with Proposed Orders

     • Memoranda of Contentions of Fact and Law [L.R. 16-4]

     • Witness Lists [L.R. 16-5]

     • Joint Exhibit List [L.R. 16-6.1]

     • Joint Status Report Regarding Settlement

     • Proposed Findings of Fact and Conclusions of Law [L.R. 52] (bench trial

       only)
     • Declarations containing Direct Testimony, if ordered (bench trial only)

    Trial Filings (second round)                                                       9/28/2023
     • Oppositions to Motions in Limine

     • Joint Proposed Final Pretrial Conference Order [L.R. 16-7]

     • Joint/Agreed Proposed Jury Instructions (jury trial only)

     • Disputed Proposed Jury Instructions (jury trial only)

     • Joint Proposed Verdict Forms (jury trial only)

     • Joint Proposed Statement of the Case (jury trial only)

     • Proposed Additional Voir Dire Questions, if any (jury trial only)

     • Evidentiary Objections to Declarations of Direct Testimony (bench trial only)



   cc: ADR                                                           Initials of Deputy Clerk: mku




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